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                                          Main Document     Page 1 of 5




   Anomcy Namc,Addreu, Tclepltonc and FAX Ph: 310-277-0077; Fax: 310-277-5735 Fite with U.S. TRUSTEE Only
   Eric P. Israel (State Bar No. 132426)
   eisrael@dgdk.com
   John N. Tedford (State Bar No. 205537}
   jtedford@dgdk.com
   Aaron E. de Leest (State Bar No. 216832)
   banning, Gill, Diamond & Kollitz, LLP               Proposed Attorneys for
   1901 Avenue of the Stars, Suite 450                 Michael A. McConnell,
   Los Angeles, CA 80067-6006                          Chapter 11 Trustee

                       UNITED 5TA'fES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                                 NORTHERN DIVISION
   ~ ~'
   "                                                                                    Chapter 11 Case Number
       HVI Cat Canyon, Inc.
                                                                                          g;1 g-bk-11573-MB
                                                                            Dcbtnr(s)

   NOTICE OF SETTING/INCREASING INSIDER COMPENSATION



  1. Name ofInsider.                                Alex G. DlmJtrijevic

  2. Reladoaship to Debtor(i.e. owner, partner,     Officer
  of~"icer, director, shareholder).

  3. Date when relationship with Aebtor             03N 9/08
  commenced:


  4. Position title:                                PresEdent

  5. Position bescription:                          president of HV! Cat Canyon, Inc. Belrfdge, Lakeview, REDU,and Ftig Dept

  6. Assigned Duties:                               Oversight of all HVICC production areas (Santa Barbara, Orange and Kem
                                                    County) including ali governmental agencies. Manage a team of
                                                    approximately 50 employees & repo►t to Chairman.

  7. Date employed in current position:             Current pos3tEon held since proximately 2013

  8. If previously employed by Debtor within        N/A
  past two years in a dit~'erent position, state
  posltiort(s) and date(s).

  9. Number of hours worked par week:               50-60

             al amount of compensation and payment $3,807:~B~eekly
  interval

  11. Breakdown of compensation (specify
  amount and payment intanral.
                                             Salary: 98,810.85

                    P~u~sttes (total, detail below): $'I5,584.48

  RevlsedScptembcr20t2—_~~                    ~NSIDER COMPENSATION (Page 1 of 2)                                  USTRI6-I2.0
 Case 9:19-bk-11573-MB                    Doc 476 Filed 11/07/19 Entered 11/07/19 13:19:12                                Desc
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                                  Car Allowance: $250 per pay period
                              Medical Insurance: Anthem Blue Cross PPO $757.04 monthly premium

                                  Life Insurance: Anthem Blue Cross $15,000
                              Business Expenses: Reimbursement for out of pocket expenses during business travel
                                 Other (Specify):
                                                    N/A

12. Identify the source ofthe funds to be used
                                                    payroll Account
to pay compensations specified in No. 10:

13. Date and amoant oflast increase in
                                                    03!19108
compensation:
l4. Identify any creditor who asserts a security N/A
interest(whether or not Debtor disputes the
validity thereofl in the receipts generated by the
operarion ofthe Debtorns business and the
amount of its claim:

15. Specify all compensation, perquisites,        W2 attached
loans, benefits etc. received by insider from the
Debtor during the twelve month period
immediately preceding the filing ofthe Chapter
1 1 Petition (Attach W-2, 1099, Individual
Payroll Cards and other related forms):
                                  Compensation: $98,610.85
                                          ~a~- None

                           Perquisites(Specify):
                                                    Reimbursement for out of pocket expenses during business travel


I declare under penalty of perjury that the answers contained in the foregoing Notice are true and correct.

Dated:10/23/19

Alex G. Dimitrijevic
Print Name and Tiite of Authorized Agent for Debtor                         Signature of Authorized Agent for D   or

       Attach proof ofservice on Creditors= Committee or the Twenty Largest Creditors if no committee has been
formed, and to any secured creditors that claim an interest in cash collateral.
       Ifthis notice pertains to setting compensation, it must be fried and served fifteen days before any pay out of
compensation, although compensation may be accrued during this period.
       Ifthis notice pertains to an increase in compensation, it must be filed and served thirty days before the date when
             increase takes effect.




Revised Septembar2012                       INSIDER COMPENSATION(Page 2 of2}                                           USTRI6.12.0
                Case 9:19-bk-11573-MB                                       Doc 476 Filed 11/07/19 Entered 11/07/19 13:19:12                                                                                 Desc
                                                                             Main Document     Page 3 of 5

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            HVI Cat Canyon, Inc                                                                                               HVI Cat Canyon, Inc
            2617 Clark Ave                                                                                                   2617 Clark Ave
            Santa Maria CA 93454                                                                                             Santa Maria CA 93454
 d Control number                                                                                                   d Camrol numbor
 o Employac's name, oddress, and ZIP tale                                                                           o Employee's nnma, adtlress, and ZIP codo

       ALEX G. DIMITRIJEVIC                                                                                               ALEX G. DIMITRIJEVIC
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       SANTA MARIA CA 93455                                                                                               SANTA MARIA CA 93455

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            HVI Cai Canyon, Inc                                                                                               HVI Cat Canyon, Inc

            2617 Clark Ave                                                                                                    2617 Clark Ave
            Santa Maria CA 93454                                                                                              Santa Maria CA 93454
 d Conlrot number                                                                                                   d Control number

 e Employee's namo, address, and ZIP code                                                                           o Empioyeo's name, address, and ZIP code

       ALEX G. DIMITRIJEVIC                                                                                               ALEX G. DIMITRIJEVIC
       310 E MC COY LN                                                                                                    310 E MC COY LN
       SANTA MARIA CA 93455                                                                                               SANTA MARIA CA 93455

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                                        PROOF OF SERVICE OF DOCUMENT
 am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): Notice of Setting/Increasinq Insider Compensation
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF1: Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
                       checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                        ❑ Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) October 25, 2019 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                        D Service information continued on attached page.

                                                                                                                          method
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
for each person or entity served): Pursuant to F.R.Civ.P.   5  and/or controlling  LBR,  on  (date)                       , I served
                                         personal   delivery, overnight  mail service,  or (for those who  consented   in writing to
the following persons and/or entities by
such service method), by   facsimile transmission  and/or  email  as follows.  Listing the  judge  here constitutes a declaration
                                                                                                                                is
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document
filed.



                                                                                        ❑ Service information continued on attached page.

  declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  October 25, 2019                         Gloria Ramos                                        /s/Gloria Ramos
  Date                                     Printed Name                                        Signature




                                                                                                                                     of California.
 1564549.1 26932 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District

June 2012                                                                                      F 9013-3.1.PROOF.SERVICE
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                                                ADDITIONAL SERVICE INFORMATION (if needed):


2. SERVED BY U.S. MAIL

Brian D Fittipaldi                                Counsel for Creditor Committee Official            Counsel for California State Lands
United States Department of                       Committee of Unsecured Creditors                   Commission
Justice/OUST                                      Jeffrey N Pomerantz                                Marc Cohen
1415 State Street                                 Pachulski Stang Ziehl &Jones LLP                   Loeb &Loeb, LLP
Suite 148                                         10100 Santa Monica Blvd 13th FI                    10100 Santa Monica Blvd.
Santa Barbara, CA 93101                           Los Angeles, CA 90067                              Suite 2200
                                                                                                     Los Angeles, California 90067

Counsel for GIT, Inc.                             Counsel for UBS AG, London Branch                  GLR, LLC
Patricia B. Tomasco                               Evan M. Jones                                      45 Rockefeller Plaza, Suite 2410
Quinn Emanuel Urquhart &Sullivan LLP              O'Melveny &Myers LLP                               New York, NY 10111
Pennzoil Place 711 Louisiana St.,                 400 South Hope Street, 18th Floor
Suite 500                                         Los Angeles, CA 90071
Houston, TX 77002




                                                                                           Bankruptcy Court for the Central District of California.
 1564549.1 26932 This form is mandatory. It has been approved for use by the United States

 June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
